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                                                             January 19, 2022

 Via ECF
 The Honorable Cathy L. Waldor
 Martin Luther King Jr. Courthouse
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            RE:       Sun Chemical Corporation v. American International Group, Inc., et al.
                      Docket No.: 2:20-cv-6252-SRC-CLW
                      MDMC File No.: A0014-1743


 Dear Judge Waldor:

         This firm represents Defendants American Home Assurance Company, improperly
 pleaded as American Home Insurance, and National Union Fire Insurance Company of
 Pittsburgh, Pa. (in its own right and as successor-in-interest to Landmark Insurance Company)
 (collectively, “Defendants”) in the above-captioned matter. This matter is scheduled for a
 telephonic status conference on January 20 before Your Honor. We write to you jointly on
 behalf of Defendants and Plaintiff, Sun Chemical Corporation (“Sun Chemical”), to advise that
 the parties have met-and-conferred and jointly request a six-month adjournment/extension of the
 discovery and pretrial deadlines set forth in the Second Amended Pretrial Scheduling Order.

         As Your Honor may recall, on October 7, 2021, the Court held a telephonic status
 conference in the above-captioned action, during which counsel apprised Your Honor of their
 intention to exchange initial document productions and to continue to engage in meet-and-
 confers to resolve various written discovery disputes, including, but not limited to, an agreement
 as to search terms and custodians for purposes of electronically stored documents. During the
 conference, counsel and Your Honor discussed amendments and extensions to the deadlines set
 forth in the First Amended Pretrial Scheduling Order. Consistent with those discussions, the
 Court entered a Second Amended Pretrial Scheduling Order.



 McElroy, Deutsch, Mulvaney & Carpenter, LLP
 COLORADO     · CONNECTICUT    · DELAWARE      · FLORIDA   · MASSACHUSETTS   · NEW JERSEY   · NEW YORK   · PENNSYLVANIA   · RHODE ISLAND
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         The parties wish to advise the Court that, on November 9, 2021, they exchanged their
 initial document productions, which consisted of voluminous documents produced by both
 Plaintiff and Defendants, as well as the Defendants’ Privilege Log. The parties have also
 participated in meet-and-confers to resolve issues surrounding search terms and custodians.
 While the parties anticipated additional meet-and-confers on search terms, custodians and other
 written discovery disputes, the undersigned unfortunately contracted COVID shortly after
 Thanksgiving and was ill for most of December. We are pleased to report that efforts to
 schedule and engage in meet-and-confers have resumed, and the parties have been diligently
 reviewing the voluminous document productions served by each side. The parties agree that the
 focus of upcoming meet-and-confers will be on search terms and custodians, as well as other
 written discovery disputes, in order to complete the written discovery phase of this
 environmental coverage action. However, given the “COVID delay” discussed above and the
 volume of documents produced to date, the parties have agreed to jointly request modifications
 to the deadlines set forth in the Second Amended Pretrial Scheduling Order. In particular, the
 parties respectfully request that the following dates be modified as set forth below:

        Paragraph 1: Fact Discovery Deadline: Currently May 2, 2022 to November 2, 2022

        Paragraph 2: Motion to Add New Parties: Currently February 15, 2022 to August 15,
        2022

        Paragraph 3: Motion to Amend Pleadings: Currently February 15, 2022 to August 15,
        2022

        The parties also respectfully request that the discovery deadlines for expert reports and
 depositions similarly be extended by six months. More specifically, the parties respectfully
 request that the following dates be modified as set forth below:

        Paragraph 11: Expert Reports.

               a) Plaintiff’s expert reports shall be served no later than: Currently June 1, 022 to
                  December 1, 2022

               b) Defendants’ expert reports, including responsive expert reports, shall be
                  served no later than: Currently August 2, 2022 to February 2, 2023

               c) Plaintiffs’ responsive and rebuttal expert reports shall be served no later than:
                  Currently October 3, 2022 to April 3, 2023

               d) Defendants’ rebuttal expert reports shall be served no later than: Currently
                  November 1, 2022, to May 1, 2023
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                e) Expert depositions shall be completed no later than: Currently December 15,
                   2022 to June 15, 2023.

 A proposed Third Amended Pretrial Scheduling Order is attached for Your Honor’s
 consideration.

         We and counsel for Plaintiff intend to work diligently to comply with these revised
 deadlines. The parties wish to note that the extensions requested are based on developments to
 date, and that additional document productions and resolution of discovery disputes may impact
 the parties’ ability to complete discovery within the timeframes set forth in the proposed Third
 Amended Pretrial Scheduling Order. Should any future developments necessitate a request by
 the parties for additional extensions, the parties will bring those developments to the Court’s
 attention.

         Counsel will be prepared to discuss the status of the case and the details surrounding the
 parties’ joint request as outlined in this letter and proposed Third Amended Pretrial Scheduling
 Order during the January 20 case management conference.


                                      Respectfully submitted,

                          MCELROY, DEUTSCH, MULVANEY & CARPENTER, LLP

                                        /s/ Kevin MacGillivray
                                       KEVIN MACGILLIVRAY


 cc: All Counsel of Record (via ECF Notification and e-mail)
